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MANDATORY FORM PLAN (Revised 01/22/2018)

                                                                     UNITED STATES BANKRUPTCY COURT
                                                                        SOUTHERN DISTRICT OF OHIO

 In re                                                                               )        Case No. 1:19-bk-11093
 Carman C. Thomas                                                                    )
                                                                                     )    Chapter 13
                                           Debtor(s)                                 )    Judge Hopkins

                                                                            CHAPTER 13 PLAN

1. NOTICES
 The Debtor has filed a case under chapter 13 of the Bankruptcy Code. A notice of the case (Official Form 309I) will be sent
 separately.

 This is the Mandatory Form Chapter 13 Plan adopted in this District. Local Bankruptcy Rule (“LBR”) 3015-1. “Debtor” means
 either a single debtor or joint debtors as applicable. “Trustee” means Chapter 13 Trustee. Section “§” numbers refer to sections of
 Title 11 of the United States Bankruptcy Code. “Rule” refers to the Federal Rules of Bankruptcy Procedure.
 Unless otherwise checked below, the Debtor is eligible for a discharge under § 1328(f).
               Debtor        is not eligible for a discharge.
               Joint Debtor        is not eligible for a discharge.
     Initial Plan.
     Amended Plan. The filing of this Amended Plan shall supersede any previously filed Plan or Amended Plan and
 must be served on the Trustee, the United States trustee and all adversely affected parties. If the Amended Plan
 adversely affects any party, the Amended Plan shall be accompanied by the twenty-one (21) day notice. Rule 2002(a)(9). Any
 changes (additions or deletions) from the previously filed Plan or Amended Plan must be clearly reflected
 in bold, italics, strike-through or otherwise in the Amended Plan filed with the Court. LBR 3015-2(a)(1).
 If an item is not checked, the provision will be ineffective if set out later in the Plan.
     This Plan contains nonstandard provisions in Paragraph 13.
     The Debtor proposes to limit the amount of a secured claim based on the value of the collateral securing the claim. See
 Paragraph(s) 5.1.2 and/or 5.1.4.
     The Debtor proposes to eliminate or avoid a security interest or lien. See Paragraph(s) 5.4.1, 5.4.2 and 5.4.3.

 NOTICE TO CREDITORS: You should read this Plan carefully, including Paragraph 13 (Nonstandard Provisions), and
 discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult
 one. Except as otherwise specifically provided, upon confirmation, you will be bound by the terms of this Plan. Your claim
 may be reduced, modified, or eliminated. The Court may confirm this Plan if no timely objection to confirmation is filed.


2. PLAN PAYMENT AND LENGTH

2.1 Plan Payment. The Debtor shall pay to the Trustee the amount of $ 2,702.00 per month. [Enter step payments below, if any.]
The Debtor shall commence payments within thirty (30) days of the petition date.

2.1.1 Step Payments, if any:

2.2 Unsecured Percentage.

   Percentage Plan. Subject to Paragraph 2.3, this Plan will not complete earlier than the payment of                  2.00   % on each allowed
nonpriority unsecured claim.

    Pot Plan. Subject to Paragraph 2.3, the total amount to be paid by the Debtor to the Trustee is
$     . Assuming all claims are filed as scheduled or estimated by the Debtor, payment on each
allowed nonpriority unsecured claim is estimated to be no less than        %. LBR 3015-1(c)(2).

2.3 Means Test Determination.



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  Below Median Income. Unless the allowed nonpriority unsecured claims are paid 100%, the projected length of the Plan must be a
minimum of thirty-six (36) months but not to exceed sixty (60) months.

   Above Median Income. Unless the allowed nonpriority unsecured claims are paid 100%, projected length of the Plan must be
sixty (60) months.

3. PRE-CONFIRMATION LEASE PAYMENTS AND ADEQUATE PROTECTION PAYMENTS

Pre-confirmation personal property lease payments governed by § 1326(a)(1)(B) shall be made as part of the total plan payment to the
Trustee. LBR 3070-1(a). Pre-confirmation adequate protection payments governed by § 1326(a)(1)(C) shall be made as part of the
total plan payment to the Trustee. LBR 3070- 1(b). The lessor/secured creditor must file a proof of claim to receive payment. LBR
3070-1(a) and (b).

 Name of Lessor/Secured Creditor                                     Property Description              Monthly Payment Amount
 -NONE-

4. SECURED CLAIMS: TIMING REQUIREMENTS; SERVICE REQUIREMENTS

4.1          Non-Government Unit Secured Claims. The Debtor may propose to limit the amount of a secured claim based on the value of
             the collateral securing the claim by the procedure proposed in Paragraphs 5.1.2 and 5.1.4. Further, the Debtor may propose to
             eliminate or avoid a security interest or lien by the procedure proposed in Paragraphs 5.4.1, 5.4.2 and 5.4.3. If the Debtor
             proposes to seek any of the above-stated relief by way of motion or claim objection, the motion or claim objection must be
             filed on or before the § 341 meeting of creditors or the confirmation hearing may be delayed. If a judicial lien or
             nonpossessory, nonpurchase-money security interest is discovered after confirmation of the Plan, a motion to avoid the
             judicial lien or security interest may be promptly filed after it is discovered.

4.2          Governmental Unit Secured Claims. A request to determine the amount of the secured claim of a governmental unit or to
             modify and eliminate the secured claim of a governmental unit may be made only by motion or claim objection. Rule
             3012(c). Any motion or claim objection that includes a request to determine the amount of the secured claim of a
             governmental unit (including any such motion or claim objection that also includes a request to determine the amount of the
             secured claim of a non-governmental entity) may be filed only after the governmental unit files a proof of claim or after the
             time for filing one has expired. Rule 3012, advisory committee note (2017 Amendments).

4.3          Service Requirements. If the Debtor proposes to seek relief under Paragraphs 5.1.2, 5.1.4, 5.4.1, 5.4.2, or 5.4.3, the motion,
             Plan or claim objection, as applicable, must be served in the manner provided by Rule 7004 for service of a summons and
             complaint. Rule 3007(a)(2), Rule 3012(b), Rule 4003(d) and General Order 22-2.

4.4          Retention of Lien. The holder of any claim listed in Paragraphs 5.1.2, 5.1.4 and 5.4.1 will retain its lien on the property
             interest of the Debtor or the Debtor's estate until the earlier of --(a) payment of the underlying debt determined under
             nonbankruptcy law, (b) discharge of the underlying debt under 11 U.S.C. § 1328, or (c) completion of the Plan --at which
             time the lien will terminate and be released by the creditor

5. PAYMENTS TO CREDITORS

                                                                     SUMMARY OF PAYMENTS BY CLASS

 Class                                                               Definition                        Payment/Distribution by Trustee
 Class 1                                                             Claims with Designated Specific   Paid first in the monthly payment
                                                                     Monthly Payments                  amount designated in the Plan
 Class 2                                                             Secured Claims with No            Paid second and pro rata with other
                                                                     Designated Specific Monthly       Class 2 claims.
                                                                     Payments and Domestic Support
                                                                     Obligations (Arrearages)
 Class 3                                                             Priority Claims                   Paid third and pro rata with other
                                                                                                       Class 3 claims.
 Class 4                                                             Nonpriority Unsecured Claims      Paid fourth and pro rata with other
                                                                                                       Class 4 claims.


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Class 5                         Claims Paid by a Non-Filing Co-                                       Not applicable
                                Debtor or Third Party
Class 6                         Claims Paid by the Debtor                                             Not applicable

Except as provided in Paragraph 3, the Trustee shall begin making distributions upon confirmation. To the extent funds are available,
the maximum number of Classes may receive distributions concurrently. Notwithstanding the above, the Trustee is authorized within
the Trustee’s discretion to calculate the amount and timing of distributions as is administratively efficient.

5.1 CLASS 1 - CLAIMS WITH DESIGNATED SPECIFIC MONTHLY PAYMENTS

The following Class 1 claims shall be paid first in the monthly payment amount designated below. The plan payment is calculated in
an amount that is sufficient for the Trustee to make a full monthly distribution on all Class 1 claims plus the statutory Trustee fee. If
the Debtor makes a payment that is less than the full plan payment amount, the Trustee will make distributions on Class 1 claims in
the order of priority set forth in the Bankruptcy Code.

5.1.1 Maintenance of Regular Mortgage Payments

Regular mortgage payments shall be calculated for payment starting the month after the filing of the
petition. Arrearages shall be paid as Class 2 claims.

Trustee disburse.

 Name of Creditor                                   Property Address                Residence (Y/N)             Monthly Payment Amount
 Bayview Loan Servicing LLC                         7223 Scottwood Avenue           Y                           819.28
                                                    Cincinnati, OH 45237
                                                    Hamilton County

 SN Servicing                                       26 Tower Street Cincinnati,     N                           884.93
                                                    OH 45220 Hamilton County
                                                    Rental real estate located at
                                                    26 Tower Street, Cincinnati,
                                                    Ohio 45220


Debtor direct pay. Unless otherwise ordered by the Court, regular monthly mortgage payments may only
be paid directly by the Debtor if the mortgage is current as of the petition date. LBR 3015-1(e)(1).
 Name of Creditor                   Property Address                  Residence (Y/N)                Monthly Payment Amount
  None

5.1.2 Modified Mortgages or Liens Secured by Real Property [“Cramdown/Real Property”]

The following claims are subject to modification as (1) claims secured by real property that is not the Debtor’s principal residence, (2)
claims secured by other assets in addition to the Debtor’s principal residence, or (3) claims for which the last payment on the original
payment schedule for a claim secured only by a security interest in real property that is the Debtor’s principal residence is due before
the date on which the final payment under the plan is due. 11 U.S.C. §§ 1322(b)(2), (c)(2). To the extent that a claim is in excess of the
value of the property, the balance in excess of the value of the property shall be treated as a Class 4 nonpriority unsecured claim. See
Paragraph 4 for more information.

 Name of                                     Property Address                Value of Property          Interest Rate Minimum Monthly
 Creditor/Procedure                                                                                                   Payment
 None

     Motion
     Plan
     Claim Objection

5.1.3 Claims Secured by Personal Property for Which § 506 Determination is Not Applicable [“910 Claims/Personal
Property”]

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The following claims are secured by a purchase money security interest in either (1) a motor vehicle acquired for the Debtor’s
personal use within 910 days of the petition date or (2) personal property acquired within one year of the petition date. The proof of
claim amount will control, subject to the claims objection process.

 Name of Creditor                  Property Description                    Purchase Date       Estimated Claim         Interest Rate   Minimum Monthly
                                                                                               Amount                                  Payment Including
                                                                                                                                       Interest
None

5.1.4 Claims Secured by Personal Property for Which § 506 Determination is Applicable [“Cramdown/Personal Property”]

The following claims are secured by personal property not described above in Paragraph 5.1.3. To the extent that a claim is in excess
of the value of the property, the balance in excess of the value of the property shall be treated as a Class 4 nonpriority unsecured
claim. See Paragraph 4 for more information.

 Name of                                 Property Description               Purchase/            Value of Property     Interest Rate   Minimum Monthly
 Creditor/Procedure                                                         Transaction Date                                           Payment Including
                                                                                                                                       Interest
 Consumer Portfolio                      2011 Chevrolet Equinox 9/28/14                          $8760.00              7.5%            $225.30
 Servicing


  Plan

5.1.5 Domestic Support Obligations (On-Going) - Priority Claims under § 507(a)(1)

If neither box is checked, then presumed to be none.
    Trustee disburse
    Debtor direct pay

The name of any holder of any domestic support obligation as defined in § 101(14A) shall be listed below. If the Debtor becomes
subject to a domestic support obligation during the Plan term, the Debtor shall notify his or her attorney and the Trustee.

 Name of Holder                                                      State Child Support Enforcement Agency,      Monthly Payment Amount
                                                                     if any
 -NONE-                                                                                                           $

5.1.6 Executory Contracts and Unexpired Leases

The Debtor rejects the following executory contracts and unexpired leases.

             Notice to Creditor of Deadline to File Claim for Rejection Damages: A proof of claim for rejection damages must be filed
             by the creditor within seventy (70) days from the date of confirmation of the Plan. Rule 3002(c)(4). Such claim shall be
             treated as a Class 4 nonpriority unsecured claim.

 Name of Creditor                                                                          Property Description
 -NONE-

The Debtor assumes the following executory contracts and unexpired leases. Unless otherwise ordered by the Court, all motor
vehicle lease payments shall be made by the Trustee. LBR 3015-1(d)(2). Any prepetition arrearage shall be cured in monthly
payments prior to the expiration of the executory contract and unexpired lease. The Debtor may not incur debt to exercise an option to
purchase without obtaining Trustee or Court approval. LBR 4001-3.

Trustee disburse.




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Name of Creditor Property Description Regular Number of                                  Monthly               Estimated Arrearage Contract/Lease
                                      Payments                                           Contract/Lease        as of Petition Date Termination Date
                                      Remaining as of                                    Payment
                                      Petition Date
 -NONE-                                                                                  $                     $

Debtor direct pay.

 Name of Creditor                  Property Description Regular Number of                Monthly               Estimated Arrearage Contract/Lease
                                                        Payments                         Contract/Lease        as of Petition Date Termination Date
                                                        Remaining as of                  Payment
                                                        Petition Date
 -NONE-                                                                                  $                     $

5.1.7 Administrative Claims

The following claims are administrative claims. Unless otherwise ordered by the Court, requests for additional attorney fees beyond
those set forth below will be paid after the attorney fees set forth below and in the same monthly amount as set forth below. LBR
2016-1(b).

 Name of Claimant                                   Total Claim                          Amount to be Disbursed by       Minimum Monthly Payment
                                                                                         Trustee                         Amount
 Andrew P. Brasse 0082363                           3,700.00                             3,100.00                        103.33

5.2 CLASS 2 - SECURED CLAIMS WITH NO DESIGNATED MONTHLY PAYMENTS AND DOMESTIC SUPPORT
OBLIGATIONS (ARREARAGES)

5.2.1 Secured Claims with No Designated Monthly Payments

The following claims are secured claims with no designated monthly payments, including mortgage arrearages,
certificates of judgment and tax liens. The proof of claim amount shall control, subject to the claims objection
process. Class 2 claims shall be paid second and shall be paid pro rata with other Class 2 claims.

 Name of Creditor                                                                        Estimated Amount of Claim
 Bayview Loan Servicing LLC                                                              $9406.43
 SN Servicing                                                                            $19,308.08

5.2.2 Domestic Support Obligations (Arrearages) - Priority Claims under § 507(a)(1)

    Trustee disburse
    Debtor direct pay

The name of any holder of any domestic support obligation arrearage claim or claim assigned to or owed to a governmental unit and
the estimated arrearage amount shall be listed below.

 Name of Holder                                                      State Child Support Enforcement Agency,   Estimated Arrearage
                                                                     if any
 -NONE-                                                                                                                                                     $

5.3 CLASS 3 - PRIORITY CLAIMS

Unless otherwise provided for in § 1322(a), or the holder agrees to a different treatment, all priority claims
under § 507(a) shall be paid in full in deferred cash payments. § 1322(a). Class 3 claims shall be paid third
and shall be paid pro rata with other Class 3 claims.

5.4 CLASS 4 - NONPRIORITY UNSECURED CLAIMS

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Allowed nonpriority unsecured claims shall be paid a dividend as provided in Paragraph 2.2. Class 4 claims
shall be paid fourth and shall be paid pro rata with other nonpriority Class 4 claims.

5.4.1 Wholly Unsecured Mortgages/Liens

The following mortgages/liens are wholly unsecured and may be modified and eliminated. See In re Lane, 280 F.3d 663 (6th Cir.
2002). See Paragraph 4 for additional information. Preferred form motions and orders are available on the Court’s website at
www.ohsb.uscourts.gov.

                 Name of Creditor/Procedure                                 Property Address

 Motion          Superior Credit Union                                      26 Tower Street, Cincinnati, Ohio


                 Value of Property          SENIOR Mortgages/Liens                                                   Amount of Wholly Unsecured
                                            (Amount/Lienholder)                                                      Mortgage/Lien
                 $65,000.00                 SN Servicing $76,113.75                                                  $18,844.21
                 Name of Creditor/Procedure                Property Address

 MOTION Homeplus Finance                                                    7223 Scottwood Avenue, Cincinnati, Ohio


                 Value of Property                           SENIOR Mortgages/Liens                                  Amount of Wholly Unsecured
                                                             (Amount/Lienholder)                                     Mortgage/Lien
                 $85,000.00                                  Bay Servicing $104,120.00                               $4,458.00

5.4.2 Judicial Liens Impairing an Exemption in Real Property

The following judicial liens impair the Debtor’s exemption in real property and may be avoided under § 522(f)(1)(A). See Paragraph 4
for additional information. Preferred form motions and orders are available on the Court’s website at www.ohsb.uscourts.gov.

                 Name of                                 Property Address                        Value of Property         Exemption
                 Creditor/Procedure
                                                                                                 $                        $
  -NONE-
                  Motion                                                                         Debtor's Interest        Statutory Basis
                  Plan                                                                           $

                                        OTHER Liens or Mortgages                                     Judicial Lien      Amount of Judicial Lien to be
                                        (Amount/Lienholder Name)                                                        Avoided
                                                                                          $                             $

                                                                                          Recorded Date                 Effective Upon:


5.4.3 Nonpossessory, Nonpurchase-Money Security Interest in Exempt Property

The following nonpossessory, nonpurchase-money security interests impair the Debtor’s exemption in personal property and may be
avoided under § 522(f)(1)(B). See Paragraph 4 for additional information. Preferred form motions and orders are available on the
Court’s website at www.ohsb.uscourts.gov.

 Name of                             Property Description Value of Property                   Exemption                Amount of Security Interest to
 Creditor/Procedure                                                                                                    be Avoided




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Name of            Property Description Value of Property                                         Exemption                  Amount of Security Interest to
Creditor/Procedure                                                                                                           be Avoided
-NONE-                                  $                                                        $                           $

  Motion                                                                                         Statutory Basis             Effective Upon:
  Plan


5.4.4 Mortgages to be Avoided Under 11 U.S.C. § 544

The following debts secured by a mortgage will be paid as unsecured claims concurrent with other Class 4 claims. The Debtor or the
Trustee shall file an adversary proceeding to determine whether the mortgage may be avoided. To the extent that the Trustee has
standing to bring such action, standing is hereby assigned to the Debtor, provided a colorable claim exists that would benefit the
estate.

 Name of Creditor                                                    Action to be Filed By                         Address of Property
 NONE

5.5 CLASS 5 - CLAIMS PAID BY A NON-FILING CO-DEBTOR OR THIRD PARTY

The following claims shall not be paid by the Trustee or the Debtor but shall be paid by a non-filing co-debtor or third party.

 Name of Creditor                                                                            Name of Payor
 -NONE-

5.6 CLASS 6 - CLAIMS PAID DIRECTLY BY THE DEBTOR

The following claims shall not be paid by the Trustee but shall be paid directly by the Debtor.

 Name of Creditor                                                                            Monthly Payment Amount
 -NONE-

6. SURRENDER OF PROPERTY

The Debtor elects to surrender to the creditor the following property that is collateral for the creditor’s claim. Upon confirmation of
the Plan, the stay under § 362(a) and, if applicable, § 1301(a) shall be terminated as to the surrendered property only. Rule 3015(g)(2).

 Name of Creditor                                                                            Description of Property
 -NONE-

7. INTEREST RATE

Unless otherwise stipulated by the parties, ordered by the Court or provided for in this Plan and except for claims treated in paragraph
5.1.1, secured claims shall be paid interest at the annual percentage rate of 5 % based upon a declining monthly balance on the
amount of the allowed secured claim. Interest is included in the monthly payment amount. See Till v. SCS Credit Corp. (In re Till),
541 U.S. 465 (2004).

    This is a solvent estate. Unless otherwise provided, all nonpriority unsecured claims shall be paid in full with interest at                                %
          from the date of confirmation. If this box is not checked, the estate is presumed to be insolvent.

8. FEDERAL INCOME TAX RETURNS AND REFUNDS

8.1 Federal Income Tax Returns

If requested by the Trustee, the Debtor shall provide the Trustee with a copy of each federal income tax return filed during the Plan
term by April 30 of each year.


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8.2 Federal Income Tax Refunds

Notwithstanding single/joint tax filing status, the Debtor may annually retain the greater of (1) any earned income tax credit and
additional child tax credit or (2) $3,000 of any federal income tax refund for maintenance and support pursuant to § 1325(b)(2) and
shall turnover any balance in excess of such amount to the Trustee. Unless otherwise ordered by the Court, tax refunds turned over to
the Trustee shall be distributed by the Trustee for the benefit of creditors. Any motion to retain a tax refund in excess of the amount set
forth above shall be filed and served pursuant to LBR 9013-3(b).

9. OTHER DUTIES OF THE DEBTOR

9.1 Change of Address, Employment, Marital Status, or Child or Spousal Support Payments

The Debtor shall fully and timely disclose to the Trustee and file any appropriate notice, application or motion with the Court in the
event of any change of the Debtor’s address, employment, marital status, or child or spousal support payments.

9.2 Personal Injury, Workers Compensation, Buyout, Severance Package, Lottery Winning, Inheritance,
or Any Other Amount

The Debtor shall keep the Trustee informed as to any claim for or expected receipt of money or property regarding personal injury,
workers compensation, buyout, severance package, lottery winning, inheritance, or any other funds to which the Debtor may be
entitled or becomes entitled to receive. Before the matter can be settled and any funds distributed, the Debtor shall comply with all
requirements for filing applications or motions for settlement with the Court as may be required by the Bankruptcy Code, the
Bankruptcy Rules or the Local Bankruptcy Rules. Unless otherwise ordered by the Court, these funds shall be distributed by the
Trustee for the benefit of creditors.

9.3 Social Security

The Debtor shall keep the Trustee informed as to any claim for or expected receipt of social security funds.

10. INSURANCE

10.1 Insurance Information

As of the petition date, the Debtor’s real and personal property is insured as follows.

 Property Address/                        Insurance Company             Policy Number       Full/Liability      Agent Name/ Contact
 Description                                                                                                    Information

 Equinox                                  State Farm                    4576376B0435D       Full                Harold Jones
                                                                                                                513-771-6226
 7223 Scottwood                           State Farm                    35BSU7878           Full                Harold Jones
                                                                                                                513-771-6226
 26 Tower Street                          State Farm                    95C8H4549           Full                Harold Jones
                                                                                                                513-771-6226

10.2 Casualty Loss Insurance Proceeds (Substitution of Collateral)

If a motor vehicle is deemed to be a total loss while there is still an unpaid claim secured by the motor vehicle, the Debtor shall have
the option to use the insurance proceeds to either (1) pay off the balance of the secured claim through the Trustee if the secured
creditor is a named loss payee on the policy or (2) upon order of the Court, substitute the collateral by purchasing a replacement motor
vehicle. If a replacement motor vehicle is purchased, the motor vehicle shall have a value of not less than the balance of the unpaid
secured claim, the Debtor shall ensure that the lien of the creditor is transferred to the replacement motor vehicle, and the Trustee shall
continue to pay the allowed secured claim. Unless otherwise ordered by the Court, if any insurance proceeds remain after paying the
secured creditor’s claim, these funds shall be distributed by the Trustee for the benefit of creditors.

11. EFFECTIVE DATE OF THE PLAN

The effective date of the Plan is the date on which the order confirming the Plan is entered.

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12. VESTING OF PROPERTY OF THE ESTATE

Unless checked below, property of the estate does not vest in the Debtor until the discharge is entered. The Debtor shall remain
responsible for the preservation and protection of all property of the estate.

    Confirmation of the Plan vests all property of the estate in the Debtor in accordance with §§ 1327(b)

    Other

13. NONSTANDARD PROVISIONS

The nonstandard provisions listed below are restricted to those items applicable to the particular circumstances of the Debtor.
Nonstandard provisions shall not contain a restatement of the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules or
the Mandatory Chapter 13 Form Plan. Any nonstandard provision placed elsewhere in this Plan is void and shall have no binding
effect.

 Nonstandard Provisions


By filing this Plan, the Debtor, if unrepresented by an attorney, or the Debtor’s Attorney certifies that (1) the wording and order of
provisions of this Plan are identical to those contained in the Mandatory Form Chapter 13 Plan adopted in this District and (2) this
Plan contains no nonstandard provisions other than those set forth in Paragraph 13.

  Debtor's Attorney
  /s/ Andrew P. Brasse
  Andrew P. Brasse 0082363
  Date: June 21, 2019

 Debtor                                                                              Joint Debtor
 /s/ Carman C. Thomas
 Carman C. Thomas
 Date:     June 21, 2019                                                             Date:




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                                        NOTICE OF DEADLINE FOR OBJECTING TO PLAN CONFIRMATION

               Debtor has filed a Chapter 13 Plan or an Amended Chapter 13 Plan (collectively, the “Plan”).

           Your rights may be affected. You should read the Plan carefully and discuss it with your attorney, if you have one in this
      bankruptcy case. If you do not have an attorney, you may wish to consult one.

           If you do not want the Court to confirm the Plan, you must file an objection to the Plan within the later of: 1) fourteen (14)
     days after the § 341 meeting of creditors is concluded; OR 2) twenty-one (21) days from the date set forth in the certificate of
     service of this Plan. If a timely objection to the Plan is filed within seven (7) days of the confirmation hearing date, the
     confirmation hearing will be rescheduled. Rule 3015(f).

          Your objection to the Plan, explaining your position, must be filed with the Court and mailed by ordinary U.S. Mail to the
     United States Bankruptcy Court.

                                                  Atrium Two Suite 800, 221 East Fourth Street, Cincinnati OH 45202

     OR your attorney must file the objection using the Court’s ECF System.

                                       The Court must receive your objection on or before the applicable deadline above.

     You must also send a copy of your objection either by 1) the Court’s ECF System or by 2) ordinary
     U.S. Mail to:

     Carman Thomas
     7223 Scottwood Avenue
     Cincinnati, Ohio 45237

     Andrew P. Brasse
     810 Sycamore Street, 5th Floor
     Cincinnati, Ohio 45202

     Trustee Margaret Burks
     600 Vine Street, Suite 2200
     Cincinnati, Ohio 45202

     and the United States trustee.

           If you or your attorney does not take these steps, the Court may decide that you do not oppose the terms of the Plan and may
     enter an order confirming the Plan without further hearing or notice.




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MANDATORY FORM PLAN (Revised 01/22/2018)

                                                                         Certificate of Service

        I hereby certify that a copy of the foregoing Plan was served (i) electronically on the date of filing through the court's ECF
System on all ECF participants registered in this case at the email address registered with the Court and (ii) by ordinary U.S. Mail
on 6/21/2019 addressed to:


 See Attached List

and (iii) by method of service as required by Bankruptcy Rule 7004 (certified mail)

 Mr. Phil Buell
 President
 Superior Credit Union
 1205 E. Kibby Street
 Lima, Ohio 45804

 Steven Duffield
 Chief Financial Officer
 Homeplus Fin
 600 Lairport Street
 El Segundo, CA 90245




 Charles E. Bradley
 Consumer Portfolio Services
 PO Box 57071
 Irvine, CA 92619


                                                                                        /s/ Andrew P. Brasse
                                                                                      Andrew P. Brasse 0082363
                                                                                      810 Sycamore Street, 5th Floor
                                                                                      Cincinnati, OH 45202
                                                                                  Ph: 513-338-1901
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                          Bayview Loan Servicing LLC
                          4425 Ponce De Leon Blvd, 5th Floor
                          Miami, FL 33146
                          Choice Recovery
                          1550 Old Henderson Rd St
                          Columbus, OH 43220
                          Choice Recovery
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                          Columbus, OH 43220
                          Cinco Federal Credit U
                          49 William Howard Taft R
                          Cincinnati, OH 45219
                          Consumer Portfolio Svc
                          Po Box 57071
                          Irvine, CA 92619
                          Controlled Credit Corp.
                          PO Box 5154
                          Cincinnati, OH 45205
                          Duke Energy
                          P.O. Box 1326
                          Charlotte, NC 28201
                          Duke Energy
                          P.O. Box 1326
                          Charlotte, NC 28201
                          Enhanced Recovery Co L
                          8014 Bayberry Rd
                          Jacksonville, FL 32256
                          Escallate Llc
                          5200 Stoneham Rd
                          North Canton, OH 44720
                          Ginnys
                          1112 7th Ave
                          Monroe, WI 53566
                          GLA Collections
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                          Louisville, KY 40269
                          Global
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                          Geneva, OH 44041
                          Greater Cincinnati Waterworks
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                          Cincinnati, OH 45232
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